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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                Case No. 21-cv-21940-BLOOM/Torres

  NEIMA BENAVIDES, as Personal
  Representative of the Estate of Naibel
  Benavides Leon, deceased,

           Plaintiff,

  v.

  TESLA, INC., a/k/a Tesla Florida, Inc.,

           Defendant.
                                      /
  DILLON ANGULO,

           Plaintiff,

  v.
                                                                           Case No. 22-22607-KMM
  TESLA, INC. a/k/a Tesla Florida, Inc.,

           Defendant.
                                      /

        MOTION FOR ORDER ALLOWING VIRTUAL APPEARANCE OF COUNSEL
                         ADMITTED PRO HAC VICE

       The undersigned, on behalf of Plaintiffs, respectfully moves this Court for an Order permitting

  counsel Brett J. Schreiber, who has been admitted pro hac vice, to appear virtually at the June 30,

  2025, status conference set for in-person appearance [D.E.418], and in support thereof states:

       1. Schreiber is one of the lead trial attorneys for Plaintiffs and has been admitted to appear in

          this matter pro hac vice.


       2. An in person status conference has been set for June 30, 2025, at 1:30pm.
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     3. Counsel for Plaintiffs admitted to this Court will appear in person at the status conference

         as required, however, due to scheduling constraints and cost considerations for travel, the

         undersigned respectfully requests that Schreiber be permitted to appear via Zoom or other

         virtual means.


     4. This request is made in good faith and is not intended to cause delay or prejudice to any

         party.


     WHEREFORE, the undersigned respectfully requests that this Court enter an Order permitting

  Brett J. Schreiber, admitted pro hac vice, to appear virtually at the upcoming status conference on

  June 30, 2025.


                           LOCAL RULE 7.1(a)(3) CERTIFICATION

         Pursuant to Local Rule 7.1(a)(3), I hereby certify that counsel for movant has conferred

  with Tesla’s counsel, who has indicated that Tesla does not oppose this Motion.

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 26th day of June 2025, I served the foregoing document
  and updated production to the parties on the service list below.

                                               Respectfully Submitted,
                                               THE ROUSSO, BOUMEL LAW FIRM, PLLC.
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                                        By:    /s/ Adam T. Boumel, Esq.
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